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Diamond Select Toys & Collectibles, LLC                            Case No. 25-10312
Cash Receipts/Disbursments                                        01/14/25 - 01/31/25



                                                             Diamond Select
    Entity                                                      Toys, LLC
    Account Number                                                8307
    Currency                                                      USD

    Cash Receipts/Disbursments
    Beginning Balance                                    $         11,276.99

    Receipts
     Webstore Customer Payments                                    14,331.55
     Wholesale Customer Advances                                  280,000.00
    Total Receipts                                                294,331.55

    Disbursements
     Vendor Payments (Checks)                                        (441.40)
     Vendor Payments (ACH/Wire)                                  (253,582.88)
     Bank Fees                                                       (340.93)
     Payroll And Health Benefits                                  (49,815.52)
    Total Disbursements                                          (304,180.73)

    Ending Balances -Per Bank Statements                            1,427.81

    Deposits In Transit                                                  -
    Outstanding Checks                                                   -

     Totals                                                         1,427.81
